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AQ dd2 (Rev EIT) Arrest Warrant

 

UNITED STATES DISTRICT COURT
for the

District of Columbia

United States of America

v, )
) Case No.

MICHAEL A. SUSSMANN j

)

}

)

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States mayistrate judge without unnecessary delay

(name of person to be arrested) MICHAEL A. SUSSMANN '
who is accused of an offense or violation based on the following document filed with the court:

@& Indictment 1 Superseding Indictment © Information © Superseding Information Complaint
0 Probation Violation Petition Supervised Release Violation Petition Violation Notice O Order of the Court

This offense is briefly described as follows:
18 U.S.C. § 1001(a)(2) (False Statements)

: Zia M. Faruqui
es 2021.09.16 14:45:07
-04'00'

Issuing officer's signature

Date: 09/16/2021

City and state; WASHINGTON, B.C. ZIA M. FARUQUI, U.S. MAGISTRATE JUDGE

Printed name «and title

 

 

Return
f+ ee fF |
This warran ‘hi tie ro” OT/ | £/202| , and the person was arrested on jfidate) OY | 7/2031

at (city and state) as Inj

Dad oft 202

  
   

Arresting officer FSignature

Steven Caldwell DEd

Printed name and title

 
